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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §            Case No: 2:15-cv-01183-JRG-RSP
                                    §
vs.                                 §            PATENT CASE
                                    §
LVMH WATCH & JEWELRY USA, INC. §
                                    §
      Defendant.                    §
___________________________________ §

                UNOPPOSED MOTION TO SUBSTITUTE DEFENDANT

        SYMBOLOGY INNOVATIONS, LLC (“Plaintiff” or “Symbology”) files this

Unopposed Motion to Substitute Defendant. On September 3, 2015, Plaintiff filed its Original

Complaint against Defendant, TAG HEUER USA. Counsel for LVMH Watch & Jewelry USA,

Inc. informed Plaintiff’s counsel that TAG Heuer USA is a non-existent entity and that LVMH

Watch & Jewelry USA, Inc. is understood to be the intended Defendant. The parties have

agreed, therefore, to substitute LVMH Watch & Jewelry USA, Inc. for TAG Heuer USA in this

case.

        Plaintiff therefore moves the Court to substitute Defendant, LVMH Watch & Jewelry

USA, Inc. for TAG Heuer USA.




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Dated: September 3, 2015                   Respectfully submitted,



                                           /s/ Jay Johnson
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                                           ATTORNEYS FOR PLAINTIFF


                           CERTIFICATE OF CONFERENCE

       Pursuant to Local Court Rule CV-7(i), I certify that on September 3, 2015, Jay Johnson,
counsel for Plaintiff Symbology Innovations, LLC, conferred with Mr. Ricardo Bonilla, counsel
for Defendant LVMH Watch & Jewelry USA regarding this Motion. Mr. Bonilla confirmed that
Defendant agrees with the Motion.

                                           /s/ Jay Johnson
                                           Jay Johnson

                              CERTIFICATE OF SERVICE

        The undersigned certifies that all counsel of record who have consented to electronic
service are being served with a copy of this document via the Court’s CM/ECF system per Local
Rule CV-5(a)(3) on September 3, 2015.

                                           /s/ Jay Johnson
                                           Jay Johnson




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